                                   Case 19-19156-EPK                  Doc 1        Filed 07/11/19           Page 1 of 7

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Palm Healthcare Company, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1177 George Bush Blvd., Ste 400
                                  Delray Beach, FL 33483
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://palmhealthcare.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-19156-EPK                  Doc 1         Filed 07/11/19             Page 2 of 7
Debtor    Palm Healthcare Company, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6213

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case 19-19156-EPK                    Doc 1        Filed 07/11/19             Page 3 of 7
Debtor   Palm Healthcare Company, Inc.                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 19-19156-EPK                    Doc 1        Filed 07/11/19             Page 4 of 7
Debtor    Palm Healthcare Company, Inc.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 11, 2019
                                                  MM / DD / YYYY


                             X   /s/ Peter Harrigan                                                       Peter Harrigan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Robert C. Furr                                                        Date July 11, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert C. Furr 210854
                                 Printed name

                                 FurrCohen P.A.
                                 Firm name

                                 2255 Glades Rd.
                                 Suite 301E
                                 Boca Raton, FL 33431
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561-395-0500                  Email address


                                 210854 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                   Case 19-19156-EPK                Doc 1       Filed 07/11/19            Page 5 of 7
Debtor     Palm Healthcare Company, Inc.                                                    Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Interloc Properties LLC                                                 Relationship to you               Affiliate
District   Southern District of Florida               When     7/11/19             Case number, if known
Debtor     Miami Real Estate Trust, LLC                                            Relationship to you               Affiliate
District   Southern District of Florida               When     7/11/19             Case number, if known
Debtor     Palm Partners, LLC                                                      Relationship to you               Affiliate
District   Southern District of Florida               When     7/11/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
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 Fill in this information to identify the case:
 Debtor name Palm Healthcare Company, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Fifth Third Bank                                                All assets of the      Contingent                     Unknown                   Unknown                   Unknown
 38 Fountain Square                                              Debtor.                Unliquidated
 Plaza                                                                                  Disputed
 Cincinnati, OH
 45263-0337
 Fifth Third Bank                                                All assets of the      Contingent                     Unknown                   Unknown                   Unknown
 38 Fountain Square                                              Debtor.                Unliquidated
 Plaza                                                                                  Disputed
 Cincinnati, OH
 45263-0337
 Ford Motor Credit                                               2016 Ford                                             $7,647.00                 Unknown                   Unknown
 Company                                                         Transconn
 PO Box 105704                                                   Vin No:
 Atlanta, GA 30348                                               1FBAX2CG9GKA6
                                                                 7235
 Ford Motor Credit                                               2016 Ford                                             $7,601.00                 Unknown                   Unknown
 Company                                                         Transconn
 PO Box 105704                                                   Vin No:
 Atlanta, GA 30348                                               1FBAX2CGXGKA2
                                                                 4815
 Ford Motor Credit                                               2017 Ford                                           $14,057.00                  Unknown                   Unknown
 Company                                                         Transconn
 PO Box 105704                                                   Vin No:
 Atlanta, GA 30348                                               1FBZX2CMOHKA5
                                                                 2942
 Lincoln Automotive                                              2017 Lincoln                                        $10,036.00                  Unknown                   Unknown
 Financial Services                                              Continental
 PO Box 105704                                                   Vin No:
 Atlanta, GA 30348                                               1LN6L9SK2H5609
                                                                 119




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Carlton Fields
           100 SE 2nd Street, Suite 4200
           Miami, FL 33131


           Fifth Third Bank
           38 Fountain Square Plaza
           Cincinnati, OH 45263-0337


           Fifth Third Bank
           13350 Metro Parkway Second Floor
           Fort Myers, FL 33966


           Florida Department of Revenue
           5050 West Tennessee Street
           Tallahassee, FL 32399


           Ford Motor Credit Company
           PO Box 105704
           Atlanta, GA 30348


           Internal Revenue Service
           POB 7346
           Philadelphia, PA 19101-7346


           Lincoln Automotive Financial Services
           PO Box 105704
           Atlanta, GA 30348


           Palm Beach County Tax Collector
           P.O. Box 3715
           West Palm Beach, FL 33402-3715


           The Delware Department of State
           Divison of Corporations
           PO Box 898
           Dover, DE 19903


           Peter A. Harrigan
           1177 George Bush Blvd
           Suite 400
           Delray Beach, FL 33483


           The Harrigan 2013 Trust
           1029 West 3rd Avenue, #400
           Anchorage, AK 99501
